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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    RAMON MUNOZ,                                      Case No. 1:24-cv-00618-CDB
12                       Plaintiff,                     ORDER DISCHARGING ORDER TO
                                                        SHOW CAUSE RE SUPPLEMENTAL
13           v.                                         JURISDICTION
14    TEXAS ROADHOUSE OF                                (Doc. 6)
      BAKERSFIELD, LLC, et al.,
15
                         Defendants.
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17          On May 24, 2024, Plaintiff Ramon Munoz initiated this action against Defendants Texas

18   Roadhouse of Bakersfield, LLC, and GS Portfolio Holdings, LLC. (Doc. 1.) In his complaint,

19   Plaintiff asserts claims for injunctive relief and attorneys’ fees under the Americans with

20   Disabilities Act of 1990 (“ADA”) and a claim for statutory damages and attorneys’ fees under

21   California’s Unruh Civil Rights Act (“Unruh Act”), California Civil Code §§ 51-53. (Id.).

22          On May 30, 2024, the Court issued an order requiring Plaintiff to show cause as to why

23   the Court should not decline to exercise supplemental jurisdiction over his State law claims.

24   (Doc. 6). Presently before the Court is Plaintiff’s response (Doc. 7) to the Court’s order to show

25   cause. Having considered Plaintiff’s response and the Court’s file, the undersigned finds this

26   matter suitable for decision without oral argument. See Local Rule 230(g).

27          Based on Plaintiff’s attestation to facts demonstrating preliminarily he satisfies the

28   heightened pleading requirements under Cal. Civ. Code § 425.50(a) and does not meet the
                                                       1
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 1   definition of “high-frequency litigant” under Cal. Civ. Code § 425.55(b), the undersigned will not

 2   recommend that the Court decline to exercise supplemental jurisdiction over Plaintiff’s Unruh

 3   Act claim and dismiss the claim.

 4          For good cause shown in Plaintiff’s timely response, the Court’s May 30 Order to Show

 5   Cause (Doc. 6) is HEREBY DISCHARGED.

 6   IT IS SO ORDERED.
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        Dated:     June 14, 2024                             ___________________                 _
 8                                                    UNITED STATES MAGISTRATE JUDGE

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